               Case 4:06-cr-40019-JPG                     Document 658 Filed 02/29/08                          Page 1 of 6           Page ID
% A 0 2458     (Rev. 06/05) Judgment in a Criminal Case             #1963
               Sheet I




                        SOUTHERN                                      District of                                      ILLINOIS

          UNITED STATES OF AMERICA                                             JUDGMENT IN A CRIMINAL CASE
                               v.
                 RICHARD D. WROLEN                                             Case Number:             4:06CR40019-003-JPG

                                                                               USM Number: 06829-025
                                                                                Steven V. Stenger
                                                                               Defendant's Attorney
THE DEFENDANT:
Gpleaded gutlty to count(s)            1 of t h e Superseding Indictment
   pleaded nolo contendere to count(s)
   which was accepted by the court.
   was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                     Nature of Offense                                                              Offense Ended                 Count


                                     to Distribute 500 G r a m s or More of a Mixture & S u b s t a n c e

                                     Containing Methamphetamine

       The defendant is sentenced as provided in pages 2 through                   10          of this judgment. The sentence is imposed pursuant to
the Sentencing R e f o m Act of 1984.
   The defendant has been found not guilty on count(s)
   Count(s)                                                 I7 is          are dismissed on the motion of the United States.

         I r I S c~rtlcrc~lthat
                             the <Icfcnclantnillit notliy th: I:nltccI stat^.. attorney ior this cliatna a.ithin 30 dxvs 01' any ~ h x n g c~ , i n m i cresi~lcn~c.
                                                                                                                                                          ,
ur rna~llngaddres, unttlall tines. rcrtlrutlon. costs. ~ n ~pe;tal
                                                             d        as>essmenp tnlposcrl by rhiqudgment Jre fully patd i1~1rdcrcdto pa). re~tltut~on.
the JcfenJ,~ntmust nouf? the coun ~ n Cnncd d        Sldte, attome!. of m~terialchanges in cionuml: arcuni3t.iil.u




                                                                                J. Phll G ~ l b e r t                           Dlstrlct J u d g e
                                                                               Namemge           \                             Trtle afJudge

                                                                               ,fl;d&4         J 4-4
                                                                                                             2 . 8      Pd4] J7
                                                                               ~ d e
                                                                                                        4         ',
                Case 4:06-cr-40019-JPG                 Document 658 Filed 02/29/08                    Page 2 of 6          Page ID
A 0 2458      (Rev. 06/05)Judgment in Criminal Carc              #1964
              Sheet 2 I m p r i s o n m e n t
                                                                                                       Judgment - Page     -
                                                                                                                           2 of      10
 DEFENDANT: RICHARD D. WROLEN
 CASE NUMBER: 4:06CR40019-003-JPG


                                                              IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
 total term of:

  252 months on Count 1 of the Superseding Indictment




      @ The court makes the following recommendations to the Bureau of Prisons:
  That the defendant be reviewed to see if needs to be placed in a Medical Facility



      @ The defendant is remanded to the custody of the United States Marshal
           The defendant shall surrender to the United States Marshal for this district:

                at                                     a.m.          p.m.     on
                as notified by the United States Marshal.

           The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

                before 2 p.m. on
                as notified by the United States Marshal.
                as notified by the Probation or Pretrial Services Office.


                                                                    RETURN
 I have executed this judgment as follows:




           Defendant delivered on                                                          to

 at                                                   , with a certified copy of this judgment.



                                                                                                     UNITED STATES MARSHAI.


                                                                            BY
                                                                                                  DEPUTY LMITED STATES MARSHAL
                Case 4:06-cr-40019-JPG                    Document 658 Filed 02/29/08                           Page 3 of 6            Page ID
A 0 2458      (Rev. 06105) Judgment in a Crimlnal Case              #1965
              Sheet 3 S u p e r v i s e d Release
                                                                                                                    Judgment-Page         3     of         10
 DEFENDANT: RICHARD D. WROLEN
 CASE N U M B E R : 4:06CR40019-003-JPG
                                                            SUPERVISED RELEASE
 Upon release from imprisonment, the defendant shall be on supervised release for a term o f :

  10 years on Count 1 of the Superseding Indictment



      The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
 custody of the Bureau of Prisons.
 The defendant shall not commit another federal, state or local crime
 The defendant shall not unlawfull possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
 substance. The defepdant shall suimit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
 thereafter, as detemuned by the court.
        The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
        future substance abuse. (Check, if applicable.)
        The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
        The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
        The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
        student, as directed by the probation officer. (Check, if applicable.)
        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
     If this udgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
 Schedule o f payments sheet of this judgment.
      The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
 on the attached page.

                                            STANDARD CONDITIONS OF SUPERVISION
           the defendant shall not leave the judicial district without the permission of the court or probation officer;
           the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
           each month;
           the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
           the defendant shall support his or her dependents and meet other family responsibilities;
           the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
           acceptable reasons;
           the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
           the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or a k n i s t e r any
           controlled substance or any paraphemalla related to any controlled substances, except as prescribed by a physlclan;
           the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
   9)      the defendant shall not associate with any persons en aged in criminal activity and shall not associate with any person convicted of a
           felony, unless granted permission to do so by the profation officer;
  10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
           contraband observed in plain vlew of the probation officer;
  11)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
  12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
           permission of the court; and
  131 xs ,I~rr.zrr..lhy the nrh.irlol~orti.er rhc J~,ti.nJ;ln~
                                                             sh;lll not~iy1h1r.Iparr~c,oirlsl,, that m y hc i ~ s a a ~ ~ o nh)
                                                                                                                              r . t111e
                                                                                                                                   l i l e f t ~ ~ d ~I: ~111111131
                                                                                                                                                            ~r's
      r e i ~ r dor pcr,onaT hlA;or!. or chd;.iasrl>tlcs and ~ 1 ~ penlilt
                                                                     ~ 1 1 111e proha11011oificcr to makc suzh out~rizat~onr            anJ ro :onrim1 rhr.
      d:rcnd3nt i :onlpli~l~:c \\ 1111su:l~ 11otific3t1onrcqoirr.mcllt.
A 0 2458
            Case
           (Rev      4:06-cr-40019-JPG
                 06'05) Judgment in a Crlrnlnal Case   Document 658 Filed 02/29/08      Page 4 of 6        Page ID
           Sheet 3C - Supervlscd Release                         #1966
                                                                                           Judgment-Page     4    of      10
DEFENDANT: RICHARD D. WROLEN
CASE NUMBER: 4:06CR40019-003-JPG

                                          SPECIAL CONDITIONS OF SUPERVISION
 X The defendant shall pay any financial penalty that is imposed by this judgment and that remains unpaid at the
 commencement of the term of supervised release. The defendant shall pay the fine in installments of $10.00 per month or
 ten percent of his net monthly income, whichever is greater.

 X The defendant shall provide the probation officer and the Financial Litigation Unit of the United States Attorney's Office
 with access to any requested financial information. The defendant is advised that the probation office may share financial
 information with the Financial Litigation Unit.

 X The defendant shall apply all monies received from income tax refunds, lottery winnings, judgments, andlor any other
 anticipated or unexpected financial gains to the outstanding court-ordered financial obligation. The defendant shall
 immediately notify the probation officer of the receipt of any indicated monies.

 X Based on the defendant's history of substance abuse, the Court is exercising it's discretion and ordering that the
 defendant shall participate as directed and approved by the probation officer in treatment for narcotic addiction, drug
 dependence, or alcohol dependence, which includes urinalysis or other drug detection measures and which may require
 residence andl or participation in a residential treatment facility. The number of tests shall not exceed 52 tests in a one
 year period. Any participation will require complete abstinence from all alcoholic beverages. The defendant shall pay for
 the costs associated with substance abuse counseling andlor testing based on a copay sliding fee scale approved by the
 United States Probation Office. Copay shall never exceed the total costs of counseling.

 X Defendant shall submit within 15 days, not to exceed 52 tests in a one year period for drug urinalysis.
A 0 245U
             Case
           (Rev. 06/05)4:06-cr-40019-JPG
                        Judgment in a Criminal Case   Document 658 Filed 02/29/08                      Page 5 of 6       Page ID
           Sheet 5 -Criminal Monetary Penalties                 #1967
                                                                                                                      5
 DEFENDANT: RICHARD D. WROLEN
                                                                                                    Judgment - Page
                                                                                                                      - of                10

 CASE NUMBER: 4:06CR40019-003-JPG
                                              CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6

                      Assessment                                                                           Restitution
 TOTALS             $ 100.00                                                                            $ 0.00



      The determination of restitution is deferred until -. An Amended Judgment in a Criminal Case ( A 0 245'2) will be entered
      after such determination.

      The defendant must make restitution (including community restitution) to the following payees in the amount listed below

      If the defendant makes a partial payment, each pa ee shall receive an approximately ro ortioned ayment, unless specified otherwise in
      the priority order or percentage payment columnxelow. However, pursuant to 18 8 s . g . 5 3664{), all nonfederal vlctlms must be p a ~ d
      before the United States is p a d .

 Sa111eot' I'avec                                                                           Restitution Ordcrcd




 TOTALS                                                      0.00         $                        0.00


       Restitution amount ordered pursuant to plea agreement $

       The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
       fifteenth day after the date of the judgment, pursuant to 18 U.S.C. 5 3612(0. All of the payment options on Sheet 6 may be subject
       to penalties for delinquency and default, pursuant to 18 U.S.C. 5 3612(g).

 @ The coun determined that the defendant does not have the ability to pay interest and it is ordered that:
       @ the interest requirement is waived for the            fine        restitution.
           the interest requirement for the           fine   C ] restitution is modified as follows:



 * Findings for the total amount of losses are re uired under Chapters 109A, 110,11OA, and 113A of Title 18 for offenses committed on or after
 September 13, 1994. but before Apt11 23, 199%.
A 0 245U   ( R eCase
                v 06/08). 4:06-cr-40019-JPG
                          -
                          Judgment in a Crimlnal Case   Document 658 Filed 02/29/08                    Page 6 of 6         Page ID
           ~ h c e l -Schedule
                     6          of Payments                       #1968
                                                                                                         Judgment - Pagc     6     of        10
DEFENDANT: RICHARD D. WROLEN
CASE NUMBER: 4:06CR40019-003-JPG

                                                        SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

 A         Lump sum payment of $                              due immediately, balance due

           C]    not later than                                  , or
                 in accordance                C,         D,        E, or   B ( F below; 01
 B         Payment to begin immediately (may be combined with               C,          D, or         F below); or

 C         Payment inequal                    (e.g., weekly, monthly, quarterly) installments of $                       over a period of
                       (e.g., months or years), to commence                 (e.g., 30 or 60 days) after the date of this judgment; or

 D         Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $                     over a period of
                        (e.g., months or years), to commence                 (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

 E         Payment during the term of supervised release will commence within                 (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 F         Special instructions regarding the payment of criminal monetary penalties:
            While on supervised release, the defendant shall make monthly payments in the amount of $10.00 or ten percent
            of his net monthly income, whichever is greater, toward his fine.



 IInlcis thc.<~unhas cxpr~,s,l\urJcrc~lolher\\ iqe. ~ft~lisjudgmenr
 i i i p r ~ ~ ~ ,411
                  ~ n crlniln~1
                       r .
                                                                  Irnpos~~.;
                                                                           Imprlsonniznt,       \I.
                                                                                               nicnt ut'~r1ni11i3l
                                                                                                               111o11cr3n
                                                                                                                       pellaltleq 15 ii11ed11r111
                               nionct.~n.pcndltlcs, s\ccpl tllosc payrncllrs 11~3dcrlin,ur{rl;c Ft~dcrdlBur~,duo i Pr~sons'Inmdtc llndna$
 Kcspons~b~l~r! Program. are made 13 the clcrk ufthe court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



      Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




      The defendant shall pay the cost of prosecution.

 C]   The defendant shall pay the following court cost(s):

 [7   The defendant shall forfeit the defendant's interest in the following property to the United States:




                                                         1.
 Payments shall be applied in the following order: (1 assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
 (5) fine interest, ( 6 ) community restitution, (7) pena tles, and (8) costs, including cost of prosecution and court costs.
